Case 0:23-cv-62163-RS Document 1 Entered on FLSD Docket 11/14/2023 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

 FARRAH MARIE FRIONA,
 ROBERT JAMES REYNOLDS, and
 KRISTINA OCCEAN,

         Plaintiffs,

 v.

 MOISES ISSA and ROBERT,

       Defendants.
 _______________________________________/

                                              COMPLAINT
                                          {Jury Trial Demanded}

         Plaintiffs FARRAH MARIE FRIONA (“Friona”), ROBERT JAMES REYNOLDS

 (“Reynolds”), and KRISTINA OCCEAN (“Occean”) bring this action against Defendants

 MOISES ISSA (“Moises”) and ROBERT ISSA (“Robert”) and allege as follows:

 1.     This is an action arising under the Fair Labor Standards Act 29 U.S.C. §§ 201-219

 (“FLSA”). Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiffs were residents of Florida and “employees” of

 Defendants and Diagnostic Medical Imaging, LLC d/b/a Diagnostic Medical Imaging (“DMI”)

 as defined by the FLSA.

 3.     At all times material hereto, DMI was a Florida corporation that regularly transacted

 business in Broward County, Florida.

 4.     Upon information and belief, DMI’s gross sales or business generated was over $500,000

 per year at all times material hereto.




                                                   1
Case 0:23-cv-62163-RS Document 1 Entered on FLSD Docket 11/14/2023 Page 2 of 4




 5.     At all times material hereto, DMI had employees handling, selling, or otherwise working

 on goods or materials that were moved in or produced for commerce, including but not limited to

 computers, phones, pens, and paper.

 6.     DMI was an enterprise engaged in commerce or the production of goods for commerce

 and is covered by the FLSA at all times material hereto.

 7.     Moises is an FLSA employer as defined in 29 U.S.C. § 203(d), is an owner and/or

 manager of DMI, ran the day-to-day operations, had operational control over DMI, and was

 directly involved in decisions affecting duties, employee compensation, and hours worked by

 employees, such as Plaintiffs.

 8.     Robert is an FLSA employer as defined in 29 U.S.C. § 203(d), is an owner and/or

 manager of DMI, ran the day-to-day operations, had operational control over DMI, and was

 directly involved in decisions affecting duties, employee compensation, and hours worked by

 employees, such as Plaintiffs.

 9.     At all times material hereto, DMI operated a business engaged in medical diagnostic

 imaging.

 10.    Friona worked for Defendants as a mammagropher.

 11.    Reynolds worked for Defendants as a radiology technologist.

 12.    Occean worked for Defendants as an ultrasound technologist.

 13.    Defendants failed to pay Friona’s full and proper minimum wages.

 14.    Defendants failed to pay Reynolds’s full and proper minimum wages.

 15.    Defendants failed to pay Occean’s full and proper minimum wages.

 16.    Defendants knowingly and willfully refused to pay Plaintiffs’ legally-entitled wages.




                                                 2
Case 0:23-cv-62163-RS Document 1 Entered on FLSD Docket 11/14/2023 Page 3 of 4




 17.     Attached as Exhibit A is a preliminary calculation of Friona’s claims, including date

 ranges, hours worked, rates of pay, and unpaid wages; these amounts may change as Plaintiffs

 engage in the discovery process.

 18.     Attached as Exhibit B is a preliminary calculation of Reynolds’s claims, including date

 ranges, hours worked, rates of pay, and unpaid wages; these amounts may change as Plaintiffs

 engage in the discovery process.

 19.     Attached as Exhibit C is a preliminary calculation of Occean’s claims, including date

 ranges, hours worked, rates of pay, and unpaid wages; these amounts may change as Plaintiffs

 engage in the discovery process.

 20.     Plaintiffs retained the services of the undersigned and are obligated to pay for the legal

 services provided.

                                      COUNT I
                    VIOLATION OF THE FAIR LABOR STANDARDS ACT
                             AGAINST ALL DEFENDANTS

 21.     Plaintiffs reallege and incorporate the allegations set forth in paragraphs 1-20 above as if

 set forth herein in full.

 22.     Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b), Plaintiffs are entitled to (i)

 unpaid minimum wages and (ii) liquidated damages.

 23.     Plaintiffs seek recovery of damages as referenced above and further seek interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

          WHEREFORE, Plaintiffs demand judgment against Defendants, jointly and severally,

 plus costs, reasonable attorneys’ fees, and such other remedy as the court deems just and

 appropriate.




                                                  3
Case 0:23-cv-62163-RS Document 1 Entered on FLSD Docket 11/14/2023 Page 4 of 4




                                    Respectfully submitted,

                                    Koz Law, P.A.
                                    800 East Cypress Creek Road Suite 421
                                    Fort Lauderdale, Florida 33334
                                    Tel: (786) 924-9929
                                    Fax: (786) 358-6071
                                    Email: ekoz@kozlawfirm.com




                                    Elliot Kozolchyk, Esq.
                                    Florida Bar No. 74791




                                       4
